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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,
                                                          CRIMINAL NUMBER:
               v.
                                                          1:18-cr-00032-2-DLF
CONCORD MANAGEMENT AND
CONSULTING LLC,                                           FILED UNDER SEAL

       Defendant.


        DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S
                MOTION FOR LEAVE TO FILE UNDER SEAL

       Defendant Concord Management and Consulting LLC (“Defendant” or “Concord”),

through counsel, respectfully moves for leave of Court to file under seal Exhibit 1 to its

Opposition to the Government’s Motion in Limine to Exclude Defense Exhibits. See ECF No.

358. In support of this motion, Concord states as follows:

       Exhibit 1 is a February 10, 2020 letter from undersigned counsel to the government

transmitting Concord’s exhibit list and witness list. When Concord filed under seal similar

correspondence from the government in connection with its Opposition to the Government’s

Motion in Limine to Admit Documents, ECF No. 344-1, the government stated that it does not

feel that this information should be publicly available at this time. As such, Concord respectfully

seeks to file a copy of Exhibit 1 under seal in order to allow the government an opportunity to

weigh in on whether Exhibit 1 should remain entirely under seal or be redacted.

       The Court has the inherent power to seal court filings when appropriate. United States v.

Hubbard, 650 F.2d 293, 315-16 (D.C. Cir. 1980) (citing Nixon v. Warner Communications, Inc.,

435 U.S. 589, 598 (1978)). Such sealing is within the discretion of the Court. See Nixon, 435

U.S. at 598 (common-law right to inspect and copy judicial records is not absolute, and the
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decision whether to permit access is best left to the sound discretion of the trial court in the light

of the relevant facts and circumstances of the particular case).

       A proposed order is filed herewith.

Dated: February 25, 2020                            Respectfully submitted,

                                                    CONCORD MANAGEMENT AND
                                                    CONSULTING LLC

                                               By: /s/ Eric A. Dubelier
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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 25, 2020, I caused a true and correct copy of the

foregoing Motion for Leave to File Under Seal to be filed under seal via CM/ECF and

transmitted to the following counsel of record via electronic mail:


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